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                     EXHIBIT A
     TRUE AND CORRECT COPY OF CORRESPONDENCE BETWEEN THE
              BUTTONS AND BOIES SCHILLER COUNSEL
        Case 2:21-cv-01412-ART-EJY                            Document 499-1                  Filed 06/16/25               Page 2 of 2


  From: Lindsey Ruff LRuff@BSFLLP.com
Subject: RE: Request for continuance of the June26th hearing- 2:21-cv-01412-ART-EJY
   Date: June 14, 2025 at 9:26 AM
     To: DUSTY BUTTON worldofdusty@gmail.com, Sigrid McCawley smccawley@bsfllp.com, Sabina Mariella SMariella@BSFLLP.com
    Cc: Ducati Dynamics desmodynamica@gmail.com

      Mr. and Mrs. Button,

      We are sorry to hear about the medical issues your family is experiencing. Please state our position as follows:

      Given Defendants’ representation that Mrs. Buttons' father is scheduled to receive treatment "during the time of" the June 26 hearing,
      Plaintiffs consent to a brief adjournment. Plaintiffs do not, however, consent to an indefinite delay, and respectfully request that the Court
      reschedule the hearing at its earliest convenience in July or August 2025. Plaintiffs' counsel is available any day in July or August, other
      than July 7-11, July 14, or August 1.

      This matter has been pending for over four years, and Plaintiffs are eager to bring this case to final resolution. We will note for the record
      that Defendants informed the clerk of court that they were available for the June 26 hearing over two months ago, on April 9, 2025, which
      should have allowed ample opportunity to make any transportation or child-care arrangements for their family, particularly since Defendants
      have already been given permission to appear at the hearing via Zoom.

      Plaintiffs also note that they have already stipulated to nine of Defendants’ requests for extensions in this case. [ECF Nos. 14, 33, 41, 65,
      144, 280, 302, 369, 413]. Plaintiffs’ counsel have also stipulated to all seven of Defendants’ requests for extensions in the related cases
      that the Buttons filed, all based on similar representations about medical issues. [See Button et al v. McCawley, 24-cv-60911-DSL, ECF
      Nos. 18, 26, 31, 34, 51; Dusty Button et al v. Micah Humphries et al, 24-cv-01730-JVS-DFM, ECF Nos. 59, 77]. While Plaintiffs sympathize
      with Defendants’ family's medical situation, given the already extensive delays in this case and others, Plaintiffs are disinclined to consent to
      further extension requests absent extraordinary circumstances.

      Best,
      Lindsey

      -----Original Message-----
      From: DUSTY BUTTON <worldofdusty@gmail.com>
      Sent: Wednesday, June 11, 2025 7:03 PM
      To: Lindsey Ruff <LRuff@BSFLLP.com>; Sigrid McCawley <smccawley@bsfllp.com>; Sabina Mariella <SMariella@BSFLLP.com>
      Cc: Ducati Dynamics <desmodynamica@gmail.com>
      Subject: Request for continuance of the June26th hearing- 2:21-cv-01412-ART-EJY

      CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize the sender.

      Lindsey,

      We, plural, are sending this message 14 days prior to the “eve” of the Nevada hearing ( to help you with the math since you apparently
      struggled with that in California ) to notify you that we intend to move the Court for a continuance of the June 26th 2025 Motion for Summary
      Judgement hearing on the following clearly specified and irrefutable grounds :

      1. William Button, father of Dusty Button is scheduled to receive his final round of Chemotherapy and blood panel during the time of this
      hearing. The following day and multiple days later is scheduled to receive various other follow ups and treatments to this Chemotherapy to
      assess the final stages of his life and what will be required of us during this time. As he is unfit to drive himself to any of these appointments
      we must do so rendering us incapacitated due to medical emergency for the days and times that this hearing is scheduled for. Laura
      Button, mother of Dusty Button, is incapacitated herself due to a fractured patella and therefore she cannot fulfill her duties that we must
      now fulfill.
      2. Laura Button, mother of Dusty Button has suffered a fractured patella ( to which we are happy to provide X-Rays to you thus violating her
      HIPPA protection ) and cannot drive nor walk thus requiring us to provide 24/7 care and the adoption of her responsibilities and duties of
      care to William Button who is in his final days of stage 4 cancer. We must drive Laura Button to and from work as she is the only working
      individual in the household and her income is solely responsible for our capability to defend ourselves within this litigation. We must
      transport Laura Button to work then William Button to Chemotherapy where we must attend to him for 4 hours during this transfusion, only
      to then drive him home and provide care for him just before we go to retrieve Laura Button from her work.
      3. Because of the medical issues above, we have no care for our 10 month old child during this hearing or at any other time and considering
      the harassment, threads of bodily harm and stalking that we have received throughout this litigation and now others we are unwilling to
      allow you or your clients to ever see our child thus immediately rendering him a target to be met with the same abuse.

      Considering the clearly urgent circumstances above we are requesting that the Court continue this hearing for a date that the Court deems
      necessary, a later date than June 26th, 2025.

      This email is to ask if you consent or oppose our motion for a continuance and we are requesting this continuance long before flights and
      accommodations would be of concern.

      Buttons. Plural.

      ________________________________
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